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                     IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                     Case No. 2:22mj145 JCB

        Plaintiff,                              COMPLAINT          SEALED


        vs.

  COLIN ANDREW SHAPARD,                         Judge Jared C. Bennett

        Defendant.


      Before the Honorable Jared C. Bennett, United States Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:

                                       COUNT 1
                                  21 U.S.C. § 841(a)(1)
     (Distribution of a Controlled Substance that Resulted in Serious Bodily Injury)

      On or about February 1, 2022, in the District of Utah and elsewhere,

                            COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II



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controlled substance within the meaning of 21 U.S.C. § 812; the use of which resulted in

serious bodily injury to Person 1 on or about February 10, 2022, and did aid and abet

therein, all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable

pursuant to 21 U.S.C. § 841(b)(1)(C).

                                        COUNT 2
                                  21 U.S.C. § 841(a)(1)
                         (Distribution of a Controlled Substance)

       On or about December 6, 2021, in the District of Utah and elsewhere,

                             COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II

controlled substance within the meaning of 21 U.S.C. § 812; and did aid and abet therein,

all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable pursuant to 21

U.S.C. § 841(b)(1)(C).

                                        COUNT 3
                                  21 U.S.C. § 841(a)(1)
                         (Distribution of a Controlled Substance)

       On or about December 17, 2021, in the District of Utah and elsewhere,

                             COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II

controlled substance within the meaning of 21 U.S.C. § 812; and did aid and abet therein,

all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable pursuant to 21


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U.S.C. § 841(b)(1)(C).

                                        COUNT 4
                                  21 U.S.C. § 841(a)(1)
                         (Distribution of a Controlled Substance)

      On or about January 31, 2022, in the District of Utah and elsewhere,

                             COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II

controlled substance within the meaning of 21 U.S.C. § 812; and did aid and abet therein,

all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable pursuant to 21

U.S.C. § 841(b)(1)(C).

                                        COUNT 5
                                  21 U.S.C. § 841(a)(1)
                         (Distribution of a Controlled Substance)

      On or about February 14, 2022, in the District of Utah and elsewhere,

                             COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II

controlled substance within the meaning of 21 U.S.C. § 812; and did aid and abet therein,

all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable pursuant to 21

U.S.C. § 841(b)(1)(C).




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                                        COUNT 6
                                  21 U.S.C. § 841(a)(1)
                         (Distribution of a Controlled Substance)

        On or about February 15, 2022, in the District of Utah and elsewhere,

                             COLIN ANDREW SHAPARD,

the defendant herein, did knowingly and intentionally distribute Fentanyl (chemical

name: N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ] propanamide), a Schedule II

controlled substance within the meaning of 21 U.S.C. § 812; and did aid and abet therein,

all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and punishable pursuant to 21

U.S.C. § 841(b)(1)(C).



       This complaint is made on the basis of investigation consisting of the following:

1.      I, Arthur Boxall, am a Task Force Officer (TFO) with the Drug Enforcement

Administration (DEA) and have been since January 2018. I am a sworn police officer

with the Park City Police Department. I am currently assigned to Task Force

Enforcement Group 3 in the DEA Salt Lake City District Office (SLCDO). I have been

deputized as a TFO pursuant to the authority granted to the Attorney General by Public

Law 99-570, Section 1869, and delegated to the Administrator of the DEA, pursuant to

Title 28, Code of Federal Regulations, subpart R, Section 0.100, et. Seq. I attended and

received training and certification through the Utah Peace Officer Standards and Training

Academy (POST). I graduated POST in April 2012 and began my law enforcement

career with the Park City Police Department in June 2012. I am currently assigned to the


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Investigations Division within that department, which has offered me a variety of training

and experience. My experience includes traffic enforcement, alcohol enforcement, drug

enforcement, highway drug interdiction and other investigation-related assignments

within Park City and Summit County. I continue to enhance my knowledge of law

enforcement principles and practices through training. I also continue to receive a

minimum of 40 hours of training per year. I have attended multiple drug interdiction

trainings, which have focused on identifying behavior indicative of drug trafficking and

distribution. I have conducted and assisted with numerous investigations relating to the

possession and distribution of controlled substances (both State and Federal violations)

during my career.

                               I.     Elements of the Offenses

2.      I have been informed that the elements for the counts alleged herein are as

follows:

     A. Distribution of a Controlled Substance Resulting in Serious Bodily Injury

     a. First: the defendant knowingly or intentionally distributed a controlled substance

        as charged;

     b. Second: the substance was in fact Fentanyl; and

     c. Third: serious bodily injury1 resulted from use of the Fentanyl.




1
 Serious Bodily Injury is defined in 21 U.S.C. § 802(25) as bodily injury that involves
substantial risk of death, among other types of injury.

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     B. Distribution of a Controlled Substance

     a. First: the defendant knowingly or intentionally distributed a controlled substance

        as charged; and

     b. Second: the substance was in fact Fentanyl.

3.      I am trained in the enforcement of laws concerning controlled substances as found

in Title 21, United States Code (USC), and have participated in numerous narcotics

investigations involving the illegal possession, distribution, and/or manufacture of

controlled substances. This experience has afforded me the opportunity to observe and

investigate methods, schemes and operations used by dangerous drug traffickers. I am

familiar with, and have participated in, all the normal methods of investigation, including

but not limited to, visual and electronic surveillance, questioning of witnesses, the use of

search and arrest warrants, the use of informants and the utilization of undercover

officers.

4.      I have participated in the investigation detailed in this affidavit. I am familiar with

all aspects of this investigation. I make this affidavit based upon my personal knowledge

derived from my participation in this investigation, as well as conclusions from

conversations that I have had with other Special Agents and Task Force Officers of the

DEA and state and local investigators familiar with narcotics trafficking. I am not

submitting every detail of this investigation, only the essential facts that support the

charges in this Complaint.

5.      This investigation used a DEA Confidential Source (the CS). The CS was directed


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and paid by DEA to assist in this investigation. The CS is not facing any state or federal

charges and is cooperating for monetary considerations.

                       II.   Evidence from a Source of Information

6.       In November 2021, TFO Tyler Parker and I interviewed a Source of Information

(SOI) and a Confidential Source (CS) in Park City, Utah. The SOI (Person 1) admitted to

agents that he/she was a "middleman" and that he/she connects others to his/her source of

supply. The SOI indicated that his/her source of supply was Colin SHAPARD.

7.       The SOI reported that SHAPARD receives his drug supply from foreign-based

pharmaceutical companies. The SOI reported that SHAPARD ships drugs through the

United Postal Service, UPS, and Uber Eats to the SOI's residence.

8.       The SOI claimed that he/she delivers the product immediately after receiving the

product from SHAPARD and that he/she does not hold onto product. The SOI indicated

that the shipments arrive approximately two weeks after he/she orders the product from

SHAPARD, depending on shipping.

9.       The SOI claimed that SHAPARD used his own name as the sender on the

shipments sent to the SOI and that SHAPARD had sent him/her tracking numbers prior to

delivery. The SOI reported that SHAPARD is going to college in Las Vegas, Nevada.

10.      The SOI reported that an Oxycodone (M 30) pill from SHAPARD costs between

$30.00-$45.00 per pill. According to the SOI, the price drops to $14.00 per pill on orders

of 100 and $9.00 per pill on orders of 1000. The SOI claimed that SHAPARD has

promised him/her kickbacks if he/she sells drugs for SHAPARD.


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11.      Agents asked the SOI to estimate how many Oxycodone M30 pills he/she has

received from SHAPARD. The SOI estimated that he/she received Oxycodone M30 pills

from SHAPARD every two weeks for the last 2-3 months. The SOI claimed that most

shipments consisted of 10-30 pills. The SOI reported that SHAPARD typically sends the

Oxycodone M30 pills in used supplement bottles or hides them in bottles of workout

powder.

12.      The SOI and the CS stated that SHAPARD uses two encrypted cellular

communication applications, Wickr and Snapchat, to further conduct his drug

distribution.

13.      On November 30, 2021, TFO Parker executed a Utah state search warrant on

multiple cellular telephones which included an iPhone belonging to the SOI.

14.      The analysis of the SOI’s cellular phone showed frequent SMS/chat/text

messaging contact with SHAPARD, beginning on 12/23/20 and continuing until

11/30/21. During the messages with SHAPARD, there were numerous chats about

controlled substances.

15.      During the text communications between SHAPARD and the SOI, words like

“oxy” and “M30” were used, which agents believe to be references to Oxycodone 30mg

pills bearing imprints of “M” and “30” on the pills. From my training and experience, I

know that so-called “M30s” are highly sought after by opioid addicts. I also know, based

upon the information provided below, that SHAPARD distributed Fentanyl-laced fake

oxycodone pills, made to look like M30s.


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      III.      Evidence from Seized Parcels Sent by SHAPARD—First Parcel [Count 2]

16.          On December 8, 2021, I was notified by USPS Postal Inspector Megan Moore that

the Park City Post Office took possession of a priority mail envelope that had arrived at

their facility. The envelope listed the sender as "Mack Cavender" with an address on

UNLV’s campus in Las Vegas, Nevada. The envelope listed the recipient as one of

SHAPARD’s associates who is a resident of Park City, Utah (Person 1). The tracking

number on the USPS envelope ended in xx601904. The package was sent on December

6, 2021, from the UNLV University Post Office Zip Code 89119.

17.          On December 10, 2021, USPS Postal Inspector Moore sent me two photographs

captured by the University Post Office security camera system of the individual that sent

the seized USPS package. Here is one photo:




 The CS positively identified the individual in the security camera footage as Colin

SHAPARD and explained that the CS knew SHAPARD to be a college student at UNLV

in Las Vegas. I also recognized SHAPARD based upon my familiarity with him gained


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through this investigation and a prior investigation.

18.     On December 10, 2021, a federal search warrant [Court Case# 2:21mj932JCB]

was authorized to search the USPS envelope (Tracking number ending in xx601904) sent

by SHAPARD on December 6, 2021. Here is the parcel:




19.     On December 13, 2021, Postal Inspector Megan Moore executed the search

warrant and searched the contents of the USPS envelope, as witnessed by TFO Tyler

Parker and me. We found 35 blue pills with "M" imprinted on one side and "30" on the

other side. These imprinted markings are indicative of Oxycodone 30mg pills. Here are

the pills:




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20.    I took custody of the 35 pills from Postal Inspector Moore and processed them as

evidence at the DEA SLCDO. The pills were tested by me; the pills presumptively tested

positive for fentanyl.

                             IV.    Second Parcel [Count 3]

21.    On December 20, 2021, I was notified by USPS Postal Inspector Megan Moore

that a Tooele, Utah, U.S. Post Office took possession of a priority mail envelope that had

arrived at their facility. The envelope listed the sender as Colin Shapard with an address

on UNLV’s campus in Las Vegas, Nevada. The envelope listed the recipient as an

associate of SHAPARD who resides in Tooele, Utah and who is known to law

enforcement. The tracking number on the USPS envelope ended in xx611879. The

package was sent on December 17, 2021, from the UNLV University Post Office in Las

Vegas, Nevada 89119. Here is the parcel:




22.    On December 30, 2021, USPS Postal Inspector Moore sent me 10 photographs

captured by the University Post Office security camera system of the individual that sent

the seized USPS package and the USPS transaction receipt. I positively identified the

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individual in the security camera footage as Colin SHAPARD.2 Here is one of the

photographs:




23.      Earlier, on December 21, 2021, a federal search warrant [Court Case#

2:21mj959JCB] was authorized to search the USPS envelope (Tracking number ending in

xx611879) sent by SHAPARD on December 17, 2021.

24.      On December 22, 2021, Postal Inspector Megan Moore executed the search

warrant and searched the contents of the USPS envelope, as witnessed by TFO Jared

Angell and me. Inside the USPS envelope, agents observed a single blister pack of pills

and a vitamin B1 pill bottle containing a variety of pills. The blister pack consisted of 10

unknown orange pills. The blister pack labeled the pills as Tapentadol 100 MG tablets.

The vitamin B1 pill bottle contained 25 blue pills with "M" imprinted on one side and



2
    I first became aware of SHAPARD during an investigation in 2016.

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"30" imprinted on the other side. These imprinted markings are indicative of Oxycodone

30mg pills. These blue pills presumptively tested positive for fentanyl. Here are the

Fentanyl-laced fake oxycodone pills:




25.        The pill bottle also held 100 green, unknown pills with "S," "90," and "3"

imprinted on one side. These imprinted markings are indicative of Alprazolam (Xanax) 2

mg pills. The bottle also contained 2 orange/white, unknown pill capsules. I took custody

of evidence from Postal inspector Moore, transported it to the SLCDO, and processed it

into evidence.

      V.      Undercover Agent Purchases Fentanyl-Laced Fake Oxycodone [Count 4]

26.        In December 2021, a DEA undercover agent was introduced to SHAPARD

utilizing the Wickr encrypted communication application; SHAPARD used Wickr the

account username 'jelliesplacebo'.

27.        The undercover agent requested blues—a street term for oxycodone 30mg



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tablets—from SHAPARD. For blues, SHAPARD charged a premium. He represented

that his pills were legitimate pharmaceutical drugs, later claiming “[t]hey're a bit pricy as

they aren't presses but they are from Canada so thanks to free healthcare they aren't crazy

expensive." He then followed-up with a message that further claimed his pills contained

oxycodone, not Fentanyl. SHAPARD further claimed his pills were not as strong as cartel

pills, but warned the undercover agent to be careful because 30mg of oxycodone was the

strongest pill they [the pharmaceutical companies] make:




28.    On January 31, 2022, USPS Post Office cameras showed SHAPARD mailing the

undercover agent a parcel containing the requested drugs, as captured here:




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29.    On February 4, 2022, USPS Postal Inspector Jared Dimick notified me that the

USPS envelope (Tracking number ending in xx628774) sent by SHAPARD to the

undercover agent had arrived at the United States Postal Office. On this same date, I met

with Postal Inspector Dimick and took custody of the USPS envelope.

30.    The USPS envelope was addressed from "John Cavender” with an address on

UNLV’s campus in Las Vegas, Nevada. It was addressed to the undercover agent at an

undercover mailing address in Salt Lake City. I transported the USPS envelope to the

DEA SLCDO. I opened the USPS envelope at the SLCDO, as witnessed by Special

Agent Eric Breyer. I found a sealed Advil box inside the USPS envelope that contained a

single Advil pill bottle. Inside the Advil pill bottle, I located five whole and ten halved

blue pills with "M" imprinted on one side and "30" imprinted on the other side, for a total

of approximately fifteen blue pills, as shown here:




31.    The imprinted "M" and "30" markings found on the blue pills are typically


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indicative of Oxycodone 30mg pills. The fifteen pills presumptively tested positive for

fentanyl. I also located nine yellow-colored capsules inside the Advil bottle. No

preliminary tests were performed on yellow-colored capsules. I processed these pills into

evidence for further analysis.

                                 VI.    Overdose [Count 1]

32.     On February 10, 2022, Park City paramedics and the Summit County Sheriff’s

Office responded to a medical call of an unresponsive male at a residence in Park City,

Utah. The first responders found an 18-year-old male victim (Person 1) unresponsive

with no (or a very faint) pulse. CPR was performed on the victim. Narcan3 was

administered to the victim, who then became alert and vomited. The victim was

transported to the hospital for additional care.

33.     On February 11, 2022, TFO Parker and I met with the victim at the hospital and

interviewed him. The victim stated he had ingested Oxycodone M30 pills that he ordered

from Colin SHAPARD; he explained that the pills were shipped through the mail. The

male victim indicated he ingested the pills in an attempt to take his life.

34.     The male signed a consent to search form for his cellular telephone. The victim

informed TFO Parker and me that he exchanged cellular text messages with SHAPARD

to facilitate the drug transaction for the M30 pills.

35.     On February 14, 2022, I analyzed the victim’s phone and found a series of cellular



3
 NARCAN Nasal Spray (Nalaxone HCL) is a medicine used for the treatment of a known or
suspected opioid overdose emergency. See Narcan.com.

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text messages between the victim and SHAPARD. The conversation between

SHAPARD and the victim revealed that SHAPARD sent the victim what were purported

to be Oxycodone pills prior to the victim ingesting the pills on February 10, 2022.

36.    SHAPARD sent the victim the USPS tracking number ending in xx9604US via

text message. USPS tracking records showed that SHAPARD sent the parcel on

February 1, 2022, and it was delivered to the victim on February 3, 2022. Post Office

surveillance showed SHAPARD mailing the parcel to the victim, as shown here:




37.    The victim’s urinalysis report showed the presence of Fentanyl and a Fentanyl

metabolite in his system, along with THC and THC metabolite.

VII.   Undercover Agent Again Purchases Fentanyl-Laced Fake Oxycodone [Count 5]

38.    After the first successful controlled purchase, the DEA undercover agent ordered

blues from SHAPARD a second time. USPS records show that SHAPARD mailed a

package to the undercover agent on February 14, 2022. Surveillance images from the post



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office showed SHAPARD mailing the package:




39.    On February 22, 2022, USPS Postal Inspector Jared Dimick notified me that the

USPS envelope (Tracking ending in xx534574) sent by SHAPARD to the undercover

agent had arrived at the United States Postal Office. Here is a photograph of the parcel:




40.    On this same date, I met with Postal Inspector Dimick and took custody of the

USPS envelope. The USPS envelope was addressed from "Mack Cavender” with an



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address on UNLV’s campus in Las Vegas, Nevada. It was addressed to the undercover

agent at an undercover mailing address in Salt Lake City. I transported the USPS

envelope to the DEA SLCDO.

41.    I opened the USPS envelope at the SLCDO, as witnessed by TFO Parker. I found

a sealed Advil box inside the USPS envelope that contained a single Advil pill bottle.

Inside the Advil pill bottle, I located fifteen whole blue pills with "M" imprinted on one

side and "30" imprinted on the other side. The imprinted "M" and "30" markings found

on the blue pills are typically indicative of Oxycodone 30mg pills. Here is a photograph

of the pills:




42.     The fifteen pills presumptively tested positive for fentanyl. I also located fifteen

white gel capsules inside the Advil bottle. No preliminary tests were performed on the

gel capsules. I processed these pills into evidence for further analysis.

43.    SHAPARD sent a message to the undercover agent to see if the package arrived;

when the undercover agent did not respond back over the weekend, SHAPARD appeared

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to have become worried. Upon hearing the undercover agent received the package—and,

by virtue of having responded, was still alive— SHAPARD expressed his relief. He

wrote: “Sorry about being so worried…Just wanted to check in and make sure you

weren’t dead, as [it’s] never a good sign when someone goes MIA after getting a f--- ton

of opiates.”




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                          VIII. Third Seized Parcel [Count 6]

44.    In February 2022, I was notified by USPS Postal Inspector Megan Moore that a

Tooele, Utah, U.S. Post Office took possession of a priority mail envelope that had

arrived at their facility. The envelope listed the sender as Colin Shapard with an address

on UNLV's campus in Las Vegas, Nevada. The envelope listed the recipient as an

associate of SHAPARD who resides in Tooele, Utah, who is known to law enforcement.

The tracking number on the USPS envelope ended in xx635965. The envelope was sent

on February 15, 2022, from a Post Office in Las Vegas, Nevada. Here is the envelope:




45.    USPS Postal Inspector Moore sent me photographs captured by the University

Post Office security camera system of the individual that sent the seized USPS package

and the USPS transaction receipt. I positively identified the individual in the security

camera footage as Colin SHAPARD. Here SHAPARD can be seen sending the parcel:




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46.   On February 18, 2022, a federal search warrant for the parcel was both authorized

and executed. TFO Tyler Parker seized the parcel and executed the search warrant.

47.    Inside the USPS envelope, TFO Parker observed 20 blue pills with "M" imprinted

on one side and "30" imprinted on the other side. These imprinted markings are

indicative of Oxycodone 30mg pills. Here are the pills:




48.     These blue pills presumptively tested positive for fentanyl.




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      Based on the foregoing information, I respectfully request that a warrant of arrest

be issued for Colin Andrew Shapard for violations of 21 U.S.C. § 841(a)(1).

 /s/ Arthur Boxall
Affiant,
Task Force Officer Arthur Boxall

                                        4th day of March, 2022.
SUBSCRIBED AND SWORN to before me this ____


Jared C. Bennett
United States Magistrate Judge

APPROVED:

ANDREA T. MARTINEZ
United States Attorney

 /s/ Michael Gadd
MICHAEL GADD
Special Assistant United States Attorney




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